IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
vy. Case No. 23-001 11-01-CR-W-BP
ANTONIO MANNING, —
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1, The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as. ‘the Government” or “the .
United States”), represented by Jeffrey P. Ray, Acting United States Attorney, and William A.
Alford IIL, Assistant United States Attorney, and the defendant, Antonio Manning (“the
defendant”), represented by Angela Hasty.

The defendant understands and agrees that this plea agreement is only between him and
the United States Atiorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant's Guilty Plea. The defendant agrees to and hereby does plead guilty to

Counts One and Three of the Superseding Indictment. Count One charges him with a violation
of 18 U.S.C, § 933(a)(1), (3), and (b), that is, conspiracy to traffic firearms. Count Three charges

him with a violation of 18 U.S.C, § 933(a)(1) and (b), that is, illegally trafficking a firearm that

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had been converted into a machinegun. The defendant also agrees to the imposition of a forfeiture
money judgment in an amount to be determined at sentencing based on the proceeds defendant
personally obtained as a result of his participation in the firearms trafficking offense, By entering
into this plea agreement, the defendant admits that he knowingly committed these offenses and is
in fact guilty of these offenses.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offenses to which he is pleading guilty and relevant conduct are as follows:
Count One
Between approximately May 24, 2022, and April 20, 2023, the defendant and the co-
defendants identified in the Indictment and Superseding Indictment, conspired, and agreed
with each other to. transfer firearms to other persons. Members of the conspiracy
distributed at least 22 firearms to third parties. Specifically, the firearms that law
enforcement officials know were distributed by members of the conspiracy include the
following firearms:
e A Glock, Model 19, 9mm caliber, handgun, bearing Serial Number BKHR170;
# A Glock, Model 17, 9mm caliber, handgun, bearing Serial Number AARD738;
e A Glock, Model 23, .40 caliber, handgun, bearing Serial Number BUGF363;

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022202,

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022226;

e A Romar/Cugir, Mini Draco, 7.62 x 39 caliber, pistol, bearing Serial Number ROA
22 PG-3659;

« A Century Arms, Model “VSKA,” 7.62 x 39 caliber, pistol, bearing Serial Number
SV7P008760;

« An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022225;

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022215;

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e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22021785;

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 21412257,

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22094913,

e A Glock, Model 22, Model 22, .40 caliber, pistol, bearing Serial Number XCD938;
e A Glock, Model 19, 9mm caliber, pistol, bearing Serial Number BHCR1 80;
e A Glock, Model 41, .45 caliber, pistol, bearing Serial Number YWE140;

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing an obliterated Serial Number;

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22108192;

e A Glock, Model 22, .40 caliber, pistol, bearing Serial Number BWTM124;

e A Glock, Model 23, .40 caliber, pistol, bearing Serial Number ZLZ965;

e A Glock, Model 19, 9mm caliber, pistol, bearing Serial Number BKPX144;

e A Glock, Model 17, 9mm caliber, pistol, bearing Serial Number BKUB535; and
e A Glock, Model 22, .40 caliber, pistol, bearing Serial Number MYR680.

Overt Acts and Relevant Conduct of Defendant Antonio Manning:

Starting on or about May 24, 2022, a Confidential Informant (“CY”) of the Bureau
of Alcohol, Tobacco, Firearms & Explosives (“ATF”) began purchasing firearms from an
individual known to Jaw enforcement officials (hereinafter referred to as “Subject #1”).
On June 13, 2022, the subject set up a purchase of additional AR-15 style firearms to be
purchased by the Cl on the following day.

On June 14, 2022, at approximately 2:28 p.m., the CI went to a predesignated area
where law enforcement officials searched him/her and the Cl’s vehicle to confirm that no
contraband was present. ATF agents provided the CI with $2,900 in pre-recorded ATF
buy money and an audio recording device to be utilized during a controlled purchase of
firearms, All of the controlled purchases in this investigation were conducted the same

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way. The CI was searched both prior to and immediately after the controlled purchase
and the CI never had contraband. The Cl also used a recording device on every controlled
purchase during this investigation,

At approximately 2:37 p.m., the CI went to an address located at 4415 S. Monroe,
Kansas City, Jackson County, Missouri, located within the Western District of Missouri.
The CI observed a red, Dodge Challenger, bearing Missouri license plate XH4H5P that
was parked neared the residence. The Cl observed Subject #1 exit the front passenger side
of the vehicle and begin walking toward the CI. Moments later, the CI observed an
individual, who was later identified as Defendant Antonio Manning, exit the Challenger
vehicle, Subject #1 entered the CI’s vehicle and Antonio Manning entered the vehicle.
Antonio Manning showed the CI two AR-15 style pistols that he had hidden under a pink
sweatshirt. The CI inspected the firearms and loaded one, During the meeting, the CI
purchased two (2) Anderson Manufacturing pistols from Antonio Manning, for $1,600.
The CI also purchased a Glock pistol from Antonio Manning that was inside of his
waistband for $560, Subject #1 facilitated the deal and was present in the vehicle at the
time of the transaction.

Count Three and Relevant Conduct of Defendant Antonio Manning:

Between July 14, 2022, and July 21, 2022, the Cl and Antonio Manning had
numerous text message conversations. Antonio Manning was utilizing telephone number
(816) 529-9320. The CI] and Antonio Manning were discussing the purchase of various
firearms, to include firearms that Antonio Manning indicated were fully automatic (a/k/a
machineguns).

On July 21, 2022, at approximately 1:45 p.m., the CI went with an ATF undercover
officer (“UC”) to a residence located at 3225 S, Jackson, Kansas City, Jackson County,
Missouri, within the Western District of Missouri. The UC followed the CI in a separate
vehicle and parked behind the Cl upon arriving at the meet location. The CI then exited
the vehicle, and the UC remained in his vehicle and observed.

The C] made contact with Antonio Manning in the driveway of the residence.
Antonio Manning escorted the CI to the trunk of a gray Kia, four-door vehicle bearing
Missouri license plate “KH3J2P.” Antonio Manning opened the trunk of the vehicle, and
it contained three handguns and five AR-I5 style pistols. Antonio Manning then utilized
a blue duffel bag and began placing various firearms into the bag. Antonio Manning then
escorted the CI into the residence.

While in the residence, the CI inspected the firearms, and the CT began to negotiate
with Antonio Manning regarding the purchase price. The Cl agreed to purchase purchased
a total of five (5) firearms from Antonio Manning for $3,600. Specifically, they included
four (4) firearms and one (1) Glock pistol that had been converted into a machinegun.
During the transaction, the CI told Antonio Manning that the CI was taking the guns out of
town and that he/she already had a buyer for one of the guns who just got out of jail a
couple of days ago. ‘The CI then told Antonio Manning that that the CI was a convicted

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felon, and the CI thanked Antonio Manning for what he is doing. {n other words, the CT
informed Antonio Manning that the C1 was precluded from buying or possessing a firearm.
It is a federal felony for a person who has previously been convicted of a crime punishable
in excess of one year of imprisonment to knowingly possess a firearm.
Below are descriptions of the firearms purchased during this transaction:
e A Glock, Model 19, 9mm caliber, handgun, bearing Serial Number BKHR170;
« A Glock, Model 17, 9mm caliber, handgun, bearing Serial Number AARD738;

« A Glock, Model 23, 40 caliber, handgun, bearing Serial Number BUGF363;

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022202; and

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022226.

An ATF firearms expert has confirmed that the Glock, Model 23, .40 caliber,
handgun, bearing Serial Number BUGF363 qualified as a machinegun as it had been
altered to fire automatically instead of semi-automatically. Antonio Manning did not have
any firearms registered in the National Firearms Registration and Transfer Record.
Accordingly, this machinegun was not registered in accordance with federal law.

An ATF interstate nexus expert has examined every firearm in this investigation
and confirmed that all of them were manufactured outside of the State of Missouri.
Accordingly, the expert opined that every firearm purchased by the Cl in this investigation
had been transported in interstate commerce as they necessarily crossed state lines prior to
the date the CI purchased each firearm.

On August 11, 2022, The CI again went to the residence located at 3225 S. Jackson,
Kansas City, Jackson County, Missouri, and purchased four (4) firearms from Co-
defendant Michael Hardy for $3,400. ‘This transaction was facilitated by Antonio
Manning, who knew that the CI was a convicted felon and prohibited from possessing a
firearm. During this transaction, Co-Defendant Michael Hardy assembled the purchased
rifles, and it was recorded on video. Michael Hardy talked about how his 18-year-old
friend just got caught with a “switch.” A “switch” is a term used for item that is utilized
to convert a handgun into a fully automatic machinegun. Michael Hardy then talked about
how much prison time you can get if you get caught with a “Switch.” The Cl had a phone
call on speaker phone with Antonio Manning in the presence of Michael Hardy regarding
the purchase of these firearms and payment amount. At the time of this transaction, there
was no evidence that Michael Hardy knew the CI was a convicted felon.

Here are the firearms that Hardy and Antonio Manning sold to the CI during this
transaction:

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e A Romar/Cugir, Mini Draco, 7.62 x 39 caliber, pistol, bearing Serial Number ROA
22 PG-3659;

« A Century Arms, Model “VSKA,” 7.62 x 39 caliber, pistol, bearing Serial Number
SV7P008760;

« An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022225; and

® An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022215.

On September 8, 2022, the CI went to the residence located at 3225 S. Jackson, Kansas
City, Jackson County, Missouri, and purchased of two (2) firearms from Co-defendant
Hardy, and another individual known to law enforcement officials (“hereinafter Subject
#2”). Hardy sold the firearms to the Ci for $1,400. Hardy and the CI had a general
conversation about the gun and the build process, Hardy talked about selling and building
guns for other people. The CI let Hardy know that he/she resells the firearms. Hardy got
a phone call from a person and Hardy stated, “you can come in if you want to.” Moments
later, Subject #2 entered the residence with the two (2) firearms. Antonio Manning called
the Cl on speakerphone and asked the CI ifhe was good. The Cl told Antonio Manning
that Hardy was working on them. Antonio Manning asked the CI what kind of guns he/she
wanted next. The CI told Antonio Manning he/she wanted handguns. Antonio Manning
indicated that then Hardy and Antonio Manning could start to “profit” with the CI.

Antonio Manning knew the Cl was a felon and prohibited from possessing a firearm.
The specific firearms soid during this transaction were as follows:

« An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22021785; and

e An Anderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 21412257.

Between on or about, May 11, 2022, and Aril 20, 2023, Defendant Antonio Manning
admits that he agreed with his co-defendants to traffic and distribute firearms to persons he
knew were prohibited from possessing the firearms either because he knew the transferees
were felons or he knew he and his co-conspirators were transferring unregistered
machineguns. The defendant knew that these transactions constituted felony offenses,
and he agrees these transactions affected interstate commerce. The defendant further
admits that July 21, 2022, he transferred the following firearms to person he knew was
prohibited from posing them:

« A Glock, Model 19, 9mm caliber, handgun, bearing Serial Number BKHR170;

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« A Glock, Model 17, 9mm caliber, handgun, bearing Serial Number AARD738,
« A Glock, Model 23, .40 caliber, handgun, bearing Serial Number BUGF363;

e AnAnderson Manufacturing, Model AM-15, AR-15 style, muiti-caliber, pistol,
bearing Serial Number 22022202; and

* AnAnderson Manufacturing, Model AM-15, AR-15 style, multi-caliber, pistol,
bearing Serial Number 22022226,

The defendant further admits that he knew the aforementioned* A Glock, Model 23,
40 caliber, handgun, bearing Serial Number BUGF363, had been altered into a
machinegun, and the machinegun was not registered as required by federal law.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S.S.G. §1B13(a}2). The defendant
acknowledges, understands and agrees that the conduct charged in any dismissed counts of the
Indictment as well as all other uncharged related criminal activity may be considered as “relevant
conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charges to
which he is pleading guilty.

5. Statutory Penalties. The defendant understands that upon his plea of guilty to Count

One charging him with a violation of 18 U.S.C. § 933(a)(1), (3), and (b), that is, conspiracy to
traffic firearms, the maximum penalty the Court may impose is not more than fifteen (15) years of
imprisonment, a $250,000 fine, three years of supervised release, an order of restitution and a $100
mandatory special assessment per felony count of conviction which must be paid in full at the time

of sentencing. The defendant further understands that this offense is a Class C felony,

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The defendant understands that upon his plea of guilty to Count Three charging him with
a violation of 18 U.S.C. § 933(a)(1) and (b), that is, illegally trafficking a firearm that had been
converted into a machinegun, the maximum penalty the Court may impose is not more than fifteen
(15) years of imprisonment, a $250,000 fine, three years of supervised release, an order of
restitution and a $100 mandatory special assessment per felony count of conviction which must be
paid in full at the time of sentencing, The defendant further understands that this offense is a
Class C felony.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a. In determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United Staies
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant's
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. The Court will determine the defendant's applicable Sentencing
Guidelines range at the time of sentencing;

c. Inaddition to a sentence of imprisonment, the Court may impose a term
of supervised release of up to three years; that the Court must impose a period of
supervised release if a sentence of imprisonment of more than one year is imposed;

d. Ifthe defendant violates a condition of his supervised release, the Court
may revoke his supervised release and impose an additional period of imprisonment
of up to two years without credit for time previously spent on supervised release.
In addition to a new term of imprisonment, the Court also may impose a new period
of supervised release, the length of which cannot exceed three years, less the term
of imprisonment imposed upon revocation of the defendants first supervised
release; ,

e. The Court may impose any sentence authorized by law, inchiding a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f. Any sentence of imprisonment imposed by the Court will not allow for
parole;

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g. The Court is not bound by any recommendation regarding the sentence
to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office; and

h. The defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court.

i. The defendant agrees that the United States may institute civil, judicial
or administrative forfeiture proceedings against ail forfeitable assets in which the
defendant has an interest, and that he will not contest any such forfeiture
proceedings.

j. The defendant agrees to fully and truthfully disclose the existence,
nature and location of all assets forfeitable to the United States, either directly or as
a substitute asset, in which he, his co-defendants and his co-conspirators have or
had any direct or indirect financial interest, or exercise or exercised control, directly
or indirectly, during the period from May 24, 2022, to the present. The defendant
also agrees to fully and completely assist the United States in the recovery and
forfeiture of all such forfeitable assets. The defendant waives any constitutional
and statutory challenges in any manner (including direct appeal, habeas corpus, or
any other means) to any forfeiture carried out in accordance with this plea
agreement on any grounds, including that the forfeiture constitutes an excessive
fine or punishment under the Eighth Amendment to the United States Constitution.

k. The defendant agrees to take all necessary steps to comply with the
forfeiture matters set forth herein before his sentencing.

|. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
the United States will use the financial information when making its
recommendation to the Court regarding the defendant’s acceptance of
responsibility.

m. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of forfeitable assets and restitution.

7. Government's Agreements, Based upon evidence in its possession at this time, the

United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring any additional charges against defendant for any federal criminal offenses

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related to the defendant’s illegal trafficking and possession of firearms for which it has venue, and
which arose out of the defendant’s conduct described above. Additionally, the United States
Attorney for the Western District of Missouri agrees to dismiss Counts Two and Four through Six
at sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the
United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence, The defendant expressly waives his right to challenge the
initiation of the dismissed or additional charges against him if he breaches this agreement. The

defendant expressly waives his right fo assert a statute of limitations defense if the dismissed or
additional charges are initiated against him following a breach of this agreement, The defendant
further understands and agrees that if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the counts to which he has pleaded guilty. The

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United States may respond to comments made or positions taken by the defendant or the
defendant's counsel and to correct any misstatements or inaccuracies. The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this plea agreement, The United States and
the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant
to Rule 32(i}(4) of the Federal Rules of Criminal Procedure.

9, Withdrawal of Plea, Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored
to their pre-plea agreement positions to the fullest extent possible. However, after the plea has
been formally accepted by the Court, the defendant may withdraw his pleas of guilty only if the
Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting
the withdrawal. The defendant understands that if the Court accepts his plea of guilty and this
plea agreement but subsequently imposes a sentence that is outside the defendant's applicable
Sentencing Guidelines range or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.
10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the patties stipulate and agree as follows:
a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”:
b. The defendant has admitted his guilt and clearly accepted responsibility
for his actions and has assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention to enter a plea of

guilty, thereby permitting the Government to avoid preparing for trial and
permitting the Government and the Court to allocate their resources efficiently.

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Therefore, he is entitled to a three-level reduction pursuant to § 3E1.1(b) of the
Sentencing Guidelines. The Government, at the time of sentencing, will file a
motion with the Court to that effect, unless the defendant (1) fails to abide by all of
the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty pleas, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

c. The parties do not have any other Guidelines computation agreements
relating to the applicable base offense level, offense level enhancements, or offense
level reductions. The parties reserve their rights to advocate for or object to any
Guidelines computations in this case.

d. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office,

e. The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does
not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept
these stipulations will not, as outlined in Paragraph 9 of this plea agreement,
provide the defendant with a basis to withdraw his plea of guilty;

f. The United States agrees not to seek an upward variance or an upward
departure from the Guidelines range deemed applicable by the Court. The
defendant may seek a downward variance or a downward departure from the
Guidelines range deemed applicable by the Court, This agreement by the parties
is not binding upon the Court or the United States Probation Office and the Court 2
may impose any sentence authorized by law, including any sentence outside the
applicable Guidelines range that is not “unreasonable”;

g. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant's
sentence, including the determination of any mandatory minimum sentence
(including the facts that suppert any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence
imposed and waives any right to have those facts alleged in the Indictment, The
defendant also agrees that the Court, in finding the facts relevant to the imposition
of sentence, may consider any reliable information, including hearsay;

h, The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will

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‘ make during his plea colloquy, support the imposition of the agreed-upon
Guidelines calculations contained in this agreement,

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing, The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the
plea agreement, the United States may charge, reinstate, or otherwise pursue any and ali criminal
charges that could have been brought but for this plea agreement.

13. Government's Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. Oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. Comment on the evidence supporting the charges in the Indictment and
Superseding Indictment;

c. Oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. Oppose any post-conviction motions for reduction of sentence, or other
relief.

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14. Waiver of. Constitutional Rights. The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the
following rights:
a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

c. The right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d, The right to confront and cross-examine the witnesses who testify
against him;

e. The right to compel or subpoena witnesses to appear on his behalf; and

f. The right to remain silent at trial, in which case his silence may not be
used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense or offenses to which he pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, his answers may
later be used against him in a prosecution for perjury or making a false statement. The defendant
also understands he has pleaded guilty to a felony offense and, as a result, will lose his right to
possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or
register to vote, hold public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement he waives his right to appeal or collaterally
attack a finding of guilt following the acceptance of this plea agreement, except on
grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

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b, The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence, An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

a, The Court may order restitution to the victims of the offense to which
the defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with the conduct charged in any counts of the Indictment
which are fo be dismissed and all other uncharged related criminal activity.

b. The United States may use the Federal Debt Collection Procedures Act,
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine.

c. The defendant will fully and truthfully disclose all assets and property
in which he has any interest, or over which the defendant exercises control directly
or indirectly, including assets and property held by a spouse, nominee or other third
party. ‘The defendant's disclosure obligations are ongoing and are in force from
the execution of this agreement until the defendant has satisfied the restitution order
in full.

d. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant's acceptance of
responsibility.

e. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning

the identification and recovery of substitute assets and restitution.

f. The defendant hereby authorizes the USAO to obtain a credit report

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pertaining to him to assist the USAO in evaluating the defendant's ability to satisfy
any financial obligations imposed as part of the sentence.

g. The defendant understands that a Special Assessment will be imposed
as part of the sentence in this case. The defendant promises to pay the Special
Assessment of $200 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk's receipt as evidence of his fulfillment of this
obligation at the time of sentencing.

h. The defendant certifies that he has made no transfer of assets or property
for the purpose of (1) evading financial obligations created by this Agreement; (2)
evading obligations that may be imposed by the Court; nor (3) hindering efforts of
the USAO to enforce such financial obligations. Moreover, the defendant
promises that he will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations
under this plea agreement; or (2) let the plea agreement stand, collect the full
forfeiture, restitution, and fines imposed by any criminal or civil judgment, and also
collect 100% (one hundred percent) of the value of any previously undisclosed
assets. ‘The defendant agrees not to contest any collection of such assets. In the
event the United States opts to be relieved of its obligations under this plea
agreement, the defendant's previously entered pleas of guilty shall remain in effect
and cannot be withdrawn.

17. Waiver of FOIA Request, The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C, § 552, or the Privacy Act of 1974, 5 U.S.C,
§ 552a,

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney's fees and other litigation expenses

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arising out of the investigation or prosecution of this matter,

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by him to law enforcement agents subsequent to the execution of this plea.
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 11¢f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel, The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his

attomeys or any other party to induce him to enter his plea of guilty.

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21. No Undisclosed Terms. The United States and defendant acknowledge and agree

that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

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23, Defendant Will Surrender_to Custedy At The Plea, Pursuant to this plea

agreement, the defendant hereby agrees not to contest detention. The Government will move to
detain the defendant and both parties will recommend that the Court order the defendant to
surrender to the United States Marshals Service within seven calendar days from when the Court
accepts the defendant’s plea of guilty,

Jeffrey P. Ray
Acting United States Attorney

Dated: NY? s7 by LX ey A .

William A. Alford IIT
Assistant United States Attorney

I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment and Superseding Indictment. Further, I have consulted with
my attorney and fully understand my rights with respect to the provisions of the Sentencing
Guidelines. I have read this plea agreement and carefully reviewed every part of it with my
attorney. [understand this plea agreement and I voluntarily agree to it,

Dated: Y Ht) oo Cr ee

Antonio Manning .
Defendant

I am defendant Antonio Manning’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the Indictment and Superseding Indictment. Further, I have
reviewed with him the provisions of the Sentencing Guidelines which might apply in this case. [
have carefully reviewed every part of this plea agreement with him. To my knowledge, Antonio
Manning's decision to enter into this plea agreement is an informed and voluntary one,

Dated: 4 “/ / “2
Angela Hasty
Attorney for Defendant

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